        Case 3:23-cv-21364-RK-TJB Document 21 Filed 02/01/24 Page 1 of 1 PageID: 641




Benjamin C. Curcio, Esq.
bcurcio@cmsllc.law




                                                  January 31, 2024        SO ORDERED:
        Via ECF
                                                                          ______________________________
        Hon. Tonianne J. Bongiovanni, M.J.
        United States District Court for                                  TONIANNE J. BONGIOVANNI
        The District of New Jersey                                        United States Magistrate Judge
        Clarkson S. Fisher Building & U.S. Courthouse                     Dated: February 1, 2024
        402 East State Street – Room 2020
        Trenton, New Jersey 08608

                Re:        Joseph Jingoli & Son, Inc. v. Erica L. Beal
                           Case No. 3:23-cv-21364

        Dear Judge Bongiovanni:

               This firm currently represents Defendant Erica L. Beal (“Defendant”) in the above-
        captioned matter. Today, we have filed a Motion to Withdraw as counsel pursuant to Federal Rule
        78 and Local Civil Rule 102, and in accordance with New Jersey R.P.C. 1.16(b).

               On January 30, 2024, we received a Text Order from this Court advising that an Answer
        must be filed by February 7, 2024. In consideration of our Motion and to avoid any prejudice to
        Defendant, we respectfully request that this Court extend the filing deadline for an Answer or
        responsive pleading for an additional 30 days to allow Defendant an opportunity to either retain
        new counsel or appear pro se.

                We thank the Court for its attention to this matter.


                                                       Respectfully submitted,

                                                       /s/   Benjamin C. Curcio
                                                       Benjamin C. Curcio
        BCC/jat

        cc:     Robert P. Zoller, Esq. (via E-Mail only)
                Erica L. Beal (via E-mail only)
